                       Case 1:18-cv-01359-LJV Document 3 Filed 11/30/18 Page 1 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Western District
                                                    __________ DistrictofofNew York
                                                                            __________

    Joshua Nuncio, Daniel Snyder, Kira Allen,                         )
Maxamillian Lewis, Brent Esposito, Melanie Cheney,                    )
                   Ashley Seibert                                     )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:18-cv-1359
                                                                      )
    Delaware 483 LLC, dba Rowhouse Bakery &                           )
  Restaurant, Mark Jaworski, Sean Tuohey, Myriah
                                                                      )
                     Jaworski
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Delaware 483 LLC, dba Rowhouse Bakery & Restaurant
                                       c/o New York Secretary of State
                                       One Commerce Plaza
                                       99 Washington Avenue
                                       Albany, NY 12231




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: A. Nicole Hallett
                                           Community Justice Clinic
                                           University at Buffalo School of Law
                                           507 O'Brian Hall, North Campus
                                           Buffalo, NY 14260-2167


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK O
                                                                                       OF COURT


Date:             11/30/2018
                     30/2018
                                                                                           Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-01359-LJV Document 3 Filed 11/30/18 Page 2 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:18-cv-1359

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:18-cv-01359-LJV Document 3 Filed 11/30/18 Page 3 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Western District
                                                    __________ DistrictofofNew York
                                                                            __________

    Joshua Nuncio, Daniel Snyder, Kira Allen,                         )
Maxamillian Lewis, Brent Esposito, Melanie Cheney,                    )
                   Ashley Seibert                                     )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:18-cv-1359
                                                                      )
    Delaware 483 LLC, dba Rowhouse Bakery &                           )
  Restaurant, Mark Jaworski, Sean Tuohey, Myriah
                                                                      )
                     Jaworski
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Sean Tuohey
                                       19 Berkley Place
                                       Buffalo, NY 14209




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: A. Nicole Hallett
                                           Community Justice Clinic
                                           University of Buffalo School of Law
                                           507 O'Brian Hall, North Campus
                                           Buffalo, NY 14260-1100


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your
                     ou answer
                         a swe oro motion
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                                          w t the
                                              t e court.
                                                   cou t.



                                                                                 CLERK OF COURT


Date:             11/30/2018
                       /2018
                                                                                           Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-01359-LJV Document 3 Filed 11/30/18 Page 4 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:18-cv-1359

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:18-cv-01359-LJV Document 3 Filed 11/30/18 Page 5 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Western District
                                                    __________ DistrictofofNew York
                                                                            __________

    Joshua Nuncio, Daniel Snyder, Kira Allen,                         )
Maxamillian Lewis, Brent Esposito, Melanie Cheney,                    )
                   Ashley Seibert                                     )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:18-cv-1359
                                                                      )
    Delaware 483 LLC, dba Rowhouse Bakery &                           )
  Restaurant, Mark Jaworski, Sean Tuohey, Myriah
                                                                      )
                     Jaworski
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mark Jaworski
                                       483 Delaware Avenue
                                       Buffalo, NY 14202




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: A. Nicole Hallett
                                           Community Justice Clinic
                                           University of Buffalo School of Law
                                           507 O'Brian Hall, North Campus
                                           Buffalo, NY 14260-1100


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must filee your answer or motion wit
                                          with
                                           itth the
                                                 he court.
                                                th



                                                                                 CLERK OF COURT


Date:             11/30/2018
                    /30/2018
                                                                                           Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-01359-LJV Document 3 Filed 11/30/18 Page 6 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:18-cv-1359

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:18-cv-01359-LJV Document 3 Filed 11/30/18 Page 7 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Western District
                                                    __________ DistrictofofNew York
                                                                            __________

    Joshua Nuncio, Daniel Snyder, Kira Allen,                         )
Maxamillian Lewis, Brent Esposito, Melanie Cheney,                    )
                   Ashley Seibert                                     )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:18-cv-1359
                                                                      )
    Delaware 483 LLC, dba Rowhouse Bakery &                           )
  Restaurant, Mark Jaworski, Sean Tuohey, Myriah
                                                                      )
                     Jaworski
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Myriah Jaworski
                                       19 Berkley Place
                                       Buffalo, NY 14209




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: A. Nicole Hallett
                                           Community Justice Clinic
                                           University at Buffalo School of Law
                                           507 O'Brian Hall, North Campus
                                           Buffalo, NY 14260-2167


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must filee your
                    you answer
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                                              t e court.
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                                                                                 CLERK OF COURT


Date:             11/30/2018
                     30/2018
                                                                                           Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-01359-LJV Document 3 Filed 11/30/18 Page 8 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:18-cv-1359

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
